                  Case 2:18-cv-02421-JFW-E Document 144 Filed 07/11/18 Page 1 of 2 Page ID #:2696




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                                                                                DENIED
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                    12 Fax: (202) 237-6131
                    13 Counsel for Plaintiffs
                    14
                    15                 UNITED STATES DISTRICT COURT
B O I E S




                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    16 BROIDY CAPITAL MANAGEMENT                  Case No. 18-cv-02421-JFW
                    17 LLC and ELLIOTT BROIDY,                    [PROPOSED] ORDER
                    18           Plaintiffs,                      CONTINUING HEARING ON
                                                                  STONINGTON DEFENDANTS’
                    19        v.                                  MOTION TO DISMISS THE FIRST
                                                                  AMENDED COMPLAINT
                    20 STATE OF QATAR, STONINGTON
                       STRATEGIES LLC, NICOLAS D.                 [Application and Declaration of Lee S.
                    21 MUZIN, GLOBAL RISK ADVISORS
                       LLC, KEVIN CHALKER, DAVID
                                                                  Wolosky filed concurrently herewith]

                    22 MARK  POWELL, MOHAMMED BIN
                       HAMAD BIN KHALIFA AL THANI,
                                                                  The Honorable John F. Walter

                    23 AHMED
                       10,
                              AL-RUMAIHI, and DOES 1-             Existing Hrg Date: August 13, 2018
                                                                  Proposed Hrg Date: August 27, 2018
                    24                                            Discovery Cut-Off Date: Not Set
                                 Defendants.                      Pre-Trial Conference Date: Not Set
                    25                                            Trial Date: Not Set

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                                                                                   Case No. 18-cv-02421-JFW
                          PROPOSED ORDER TO CONTINUE HEARING ON STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 144 Filed 07/11/18 Page 2 of 2 Page ID #:2697




                     1        Presently before the Court is Plaintiffs’ Application to Continue the
                     2 Hearing on the Stonington Defendants’ Motion to Dismiss the First Amended
                     3 Complaint, presently scheduled for August 13, 2018, at 1:30 p.m. Good cause
                     4 for continuing the hearing having been shown, the Application is GRANTED.
                     5        IT IS HEREBY ORDERED that the hearing on the Stonington
                     6 Defendants’ Motion to Dismiss the Case currently scheduled for August 13,
                     7 2018, is continued to August 27, 2018, at 1:30 p.m.
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F L E X N E R




                     9        IT IS SO ORDERED.
                   10                                                    DENIED
                   11 Dated: __________________               BY ORDER   OF THE COURT
                                                                  ____________________
                                                                     The Hon. John F. Walter
S C H I L L E R




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                                                                     United States District Judge
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                                                             -1-               Case No. 18-cv-02421-JFW
                   28      [PROPOSED] ORDER CONTINUING HEARING ON STONINGTON DEFENDANTS’ MOTION TO
                                                                                                DISMISS
